                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE

 JEFFERSON L. BIVINGS,                            )
                                                  )
                Petitioner,                       )
                                                  )
 v.                                               )       Nos.: 3:06-CR-147-TAV-HBG-8
                                                  )             3:16-CV-173-TAV
 UNITED STATES OF AMERICA,                        )
                                                  )
                Respondent.                       )


                                      JUDGMENT ORDER

        For the reasons expressed in the accompanying memorandum opinion, it is ORDERED

 and ADJUDGED that Petitioner’s motion to seal [Doc. 446] is DENIED and § 2255 motion

 [Doc. 437] is DENIED and DISMISSED WITH PREJUDICE. If Petitioner files a notice of

 appeal from this judgment, such notice of appeal will be treated as an application for a certificate

 of appealability, which is DENIED pursuant to 28 U.S.C. § 2253(c)(2) and Fed. R. App. P. 22(b)

 because he has failed to make a substantial showing of the denial of a federal constitutional right.

 The Court CERTIFIES pursuant to 28 U.S.C. § 1915(a)(3) and Fed. R. App. P. 24 that any such

 appeal from this judgment would be frivolous and not taken in good faith.

        ENTER:


                                       s/ Thomas A. Varlan
                                       CHIEF UNITED STATES DISTRICT JUDGE


 ENTERED AS A JUDGMENT

       s/ Debra C. Poplin
      CLERK OF COURT




Case 3:06-cr-00147-TAV-JEM           Document 450 Filed 01/18/17             Page 1 of 1      PageID
                                           #: 2442
